Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 1 of 7 PageID 1




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


                 YARA VALLEJOS                     Case No.:

                      Plaintiff,

                          v.

            CDL CHILDCARE INC. and
              CHAD D. LOCICERO

                    Defendants.


                 - COMPLAINT AND DEMAND FOR JURY TRIAL -

         Plaintiff YARA VALLEJOS by and through the undersigned counsel, hereby

 files this Complaint against the above-named Defendants, CDL CHILDCARE INC.

 and CHAD D. LOCICERO.

                                   NATURE OF THE CASE

    1.      This is an action brought by Plaintiff YARA VALLEJOS, (hereafter

            “Plaintiff”) against her former employers, Defendants CDL CHILDCARE

            INC. and CHAD D. LOCICERO (hereafter referred to as “Defendants”)

            for violations of the Fair Labor Standards Act of 1938, 29 U.S.C. § 201,

            et seq. (“FLSA”).

    2.      During the term of Plaintiff’s employment, Defendants had practice of

            paying for only 40 hours a week, and not paying Plaintiff for hours

            worked in excess of forty (40) in a workweek at a rate of 1.5 times

            Plaintiff’s regular rate of pay.
Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 2 of 7 PageID 2




                            JURISDICTION AND VENUE

    3.    This Court has subject matter jurisdiction conferred by 29 U.S.C. §

          216(b) and 28 U.S.C. § 1331.

    4.    Venue is proper in the Tampa Division of the Middle District of Florida

          under Local Rule 1.02 of the Local Rules of the Middle District of Florida.

          Tampa has the greatest nexus with the cause because it is the place

          where Plaintiff provided services and Defendants conducted business.

                                           PARTIES

    5.    Plaintiff, YARA VALLEJOS, a resident of Hillsborough County, was a

          former employee of Defendants who worked for Defendants performing

          various non-exempt duties at a childcare.

    6.    Plaintiff, YARA VALLEJOS, is an employee as defined by the laws under

          which this action is brought.

    7.    Defendants CDL CHILDCARE INC. and CHAD D. LOCICERO are

          employers as defined by the laws under which this action is brought.

    8.    Defendant CDL CHILDCARE INC. is a corporation organized and

          existing under and by virtue of the laws of Florida.

    9.    Defendant CHAD D. LOCICERO is an individual resident of the State of

          Florida, who owned and/or operated CDL CHILDCARE INC. and who

          regularly: a) exercised control over the day-to-day operations of said

          entity; b) had personal and direct involvement in employment affairs

          (including Plaintiff’s); c) hired and fired employees, including Plaintiff; d)




                                                                            Page 2 of 7
Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 3 of 7 PageID 3




          established employee work schedules and set Plaintiff’s hours; e)

          controlled terms of employment (including Plaintiff’s terms); and f) had

          the authority to set employee wages, and indeed set Plaintiff wages.

                                       COVERAGE

    10.   Defendant CDL CHILDCARE INC. is an enterprise engaged in

          commerce or in the production of goods for commerce, covered by the

          FLSA, and as defined by 29 U.S.C. § 203.

    11.   Defendant CDL CHILDCARE INC. is a corporation that operates under

          the name TODAY’S CHILD and provides childcare, summer camp,

          before and after school care, transportation, and meals to children.

    12.   Defendant CDL CHILDCARE INC. is a corporation engaged in

          commerce as defined by 29 U.S.C. § 203, inter alia, by accepting

          payment from its customers through the use of credit/debit cards and

          checks, from banks located outside the state of Florida.

    13.   Upon information and belief, Defendants’ annual gross volume of sales

          exceeded $500,000/year at all relevant times.

    14.   Defendants CDL CHILDCARE INC. are CHAD D. LOCICERO

          employers within the definition of the FLSA, 29 U.S.C. § 203.

    15.   During the term of her employment, Plaintiff YARA VALLEJOS was

          engaged in commerce and was therefore subject to the individual

          coverage of the FLSA. 29 U.S.C. § 206. Plaintiff collected and processed

          credit and debit card payments from customers.




                                                                       Page 3 of 7
Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 4 of 7 PageID 4




    16.   The services performed by Plaintiff were essential, necessary, and an

          integral part of the business conducted by Defendants.

    17.   Plaintiff was a covered employee for purposes of the FLSA pursuant to

          29 U.S.C. § § 207 and 206.

                                   FACTUAL BACKGROUND

    18.   Plaintiff YARA VALLEJOS was employed by Defendants CDL

          CHILDCARE INC. and CHAD D. LOCICERO from April 2013 to

          February 2019 (with an interruption in 2015).

    19.   Plaintiff held an assistant/teacher position at the time of separation, but

          also   performed    other   functions    such   as   cooking,    cleaning,

          opening/closing the childcare center, and answering phones.

    20.   Plaintiff was paid $11.00 per hour

    21.   During her employment with Defendants, Plaintiff was classified as non-

          exempt.

    22.   Plaintiff did not satisfy any of the requirements for overtime exemptions

          set forth in the FLSA.

    23.   During the last 2-3 years of employment, Plaintiff worked in excess of

          forty (40) hours in a workweek and was not compensated at the statutory

          rate of one and one-half times her regular rate of pay.

    24.   Specifically, Plaintiff opened and closed the childcare center, and

          usually worked from 6:00 AM to 6:00 PM, five days a week. However,

          Plaintiff’s checks only showed 80 work hours (40 hours for each week).




                                                                          Page 4 of 7
Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 5 of 7 PageID 5




    25.   There was no timekeeping system used by Plaintiff to record her time.

    26.   Plaintiff YARA VALLEJOS was not paid an overtime premium for hours

          worked in excess of 40 in a workweek. In lieu of paying overtime or extra

          compensation, Defendants opted to provide Plaintiff with childcare at a

          reduced rate of $75.00, every two weeks. However, the amount of owed

          overtime premium exceeded the alleged childcare amount.

    27.   Defendants CDL CHILDCARE INC. and CHAD D. LOCICERO were

          aware that Plaintiff was working in excess of forty (40) hours per week

          without proper compensation but did not cure the ongoing FLSA

          violations.

    28.   Defendants’ actions were willful and/or showed reckless disregard as to

          whether their conduct was prohibited by the FLSA.

    29.   Defendant’s actions set forth above also constitute a violation of the

          time-keeping requirements set forth by the FLSA.

                                COUNT I
           RECOVERY OF OVERTIME COMPENSATION UNDER THE FLSA

    30.   Plaintiff YARA VALLEJOS re-alleges and incorporates the allegations

          contained in Paragraphs 1 through 29 above.

    31.   Defendants CDL CHILDCARE INC. and CHAD D. LOCICERO failed to

          pay Plaintiff properly for all hours worked in excess of forty (40) hours

          in a workweek in compliance with the FLSA.

    32.   Plaintiff is entitled to be paid time and one-half her regular rate of pay

          for each hour worked in excess of forty (40) in a workweek.



                                                                         Page 5 of 7
Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 6 of 7 PageID 6




    33.      As a result of Defendants’ willful violation of the FLSA, Plaintiff YARA

             VALLEJOS is entitled to damages, liquidated damages, pre-judgment

             interest, attorney’s fees, and costs.

                                  PRAYER FOR RELIEF

          WHEREFORE, Plaintiff YARA VALLEJOS respectfully requests judgment

 against Defendants CDL CHILDCARE INC. and CHAD D. LOCICERO, and the

 following damages:

          a. Unpaid overtime compensation pursuant to 29 U.S.C. § 216(b);

          b. Liquidated damages in an amount equal to the overtime compensation

             owed in accordance with 29 U.S.C. § 216(b);

          c. Attorneys’ fees and costs as provided by 29 U.S.C. § 216(b);

          d. Liquidated damages in an amount equal to the unpaid minimum wages

             owed in accordance with 29 U.S.C. § 216(b);

          e. Such further relief as the Court deems just and appropriate.

                                  DEMAND FOR JURY TRIAL

          Plaintiff requests a jury trial to the extent authorized by law.




                                                                             Page 6 of 7
Case 8:19-cv-00429-CEH-CPT Document 1 Filed 02/18/19 Page 7 of 7 PageID 7




    Dated: February 18, 2019.             Respectfully submitted,


                                          CYNTHIA GONZALEZ P.A.
                                          1936 W MLK Blvd.
                                          Suite 206
                                          Tampa, Florida 33607
                                          Telephone: 813.333.1322
                                          Toll free: 888.WagesDue
                                          Fax: 866.593.6771
                                           WagesDue.com

                                          s/ Cynthia Gonzalez
                                          Cynthia M. Gonzalez
                                          Florida Bar No. 53052
                                          Attorney for Plaintiff
                                          cynthia@wagesdue.com




                                                                Page 7 of 7
